EXHIBIT A
              A                    B                     C
1    BD Laplace, LLC
2    Case #19-12153
3    Exhibit A - Steel & Pipe Supply
4
5
6      Invoice Number        Invoice Date         Invoice Amount
7        Credit Memo                10/4/2019   $       (357,381.35)
8        1400033757                10/23/2019   $        349,555.29
9        1400035777                10/28/2019   $          1,291.50
10       1400033775                10/28/2019   $          2,119.58
11        90825939                 11/12/2019   $         11,643.59
12        90827484                 12/16/2019   $          3,859.20
13        90827498                 12/17/2019   $          3,240.00
14        90827507                 12/17/2019   $          2,960.00
15                              Balance Due     $         17,287.81
